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Exhibit LL
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OFFICE OF LEGAL AFFAIRS
Jennifer Neill

General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001

March 3, 2020
VIA EMAIL ONLY

Lisa Ells (lells@rbgg.com)

Rosen Bien Galvan & Grunfeld LLP
101 Mission Street, Sixth Floor

San Francisco, CA 94105

Lisa,

I write to provide you with the requested Enhanced Outpatient Program (EOP) segregation data,
which Defendants agreed to produce in Nick Weber’s March 20, 2017 letter. Enclosed you will
find a report showing the mean and median lengths of stay of class members in segregation, as
well as a report on EOP patients and EOP patients on modified programs in segregation refusing
more than fifty percent of their groups in the past month.

As of Friday, February 28, 2020, the Psychiatric Services Unit (PSU) at California State Prison-
Sacramento, houses 121 PSU inmates. None are in the Step Down Program. 100 PSU inmates
are currently placed in the Behavior Incentive Program as follows:

Step 4 10
Step 3 10
Step 2 22
Step 1 38

The remaining PSU inmates have either finished their segregated housing term, are awaiting their
initial IDTT, or have been placed in a lower or higher level of care and are awaiting transfer.

As of March 2, 2020, 3.42%, or 2,693 of the 78,790 non-class members housed in the California
Department of Corrections and Rehabilitation, not counting contract beds, were in segregation.

Sincerely,
/s/ Dillon Hockerson
Dillon Hockerson

Attorney
Office of Legal Affairs
Case 2:90-cv-00520-KJM-SCR Document 6768-6 Filed 07/15/20 Page 3 of 39

Exhibit MM
STATE OF CALFORNAS OED ONE OOS 2 OUKIMESTR™O’ Document 6768-6

OFFICE OF LEGAL AFFAIRS
Jennifer Neill

General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001

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July 6, 2020

VIA EMAIL ONLY

Lisa Ells (lells@rbgg.com)

Rosen Bien Galvan & Grunfeld LLP
101 Mission Street, Sixth Floor
San Francisco, CA 94105

Lisa,

| write to provide you with the requested Enhanced Outpatient Program (EOP) segregation data, which
Defendants agreed to produce in Nick Weber’s March 20, 2017 letter. Enclosed you will find a report
showing the mean and median lengths of stay of class members in segregation, as well as a report on EOP
patients and EOP patients on modified programs in segregation refusing more than fifty percent of their
groups in the past month.

As of Wednesday, July 1, 2020, the Psychiatric Services Unit (PSU) at California State Prison, Sacramento,
houses 113 PSU inmates. None are in the Step Down Program. 108 PSU inmates are currently placed in
the Behavior Incentive Program as follows:

Step 4 36
Step 3 20
Step 2 19
Step 1 33

The remaining PSU inmates have either finished their segregated housing term, are awaiting their initial
IDTT, or have been placed in a lower or higher level of care and are awaiting transfer.

Finally, as of July 2, 2020, 3.36% or 2,435 of the 72,485 non-class members housed in the California
Department of Corrections and Rehabilitation, not counting contract beds, were in segregation.

Sincerely,
/s/ Dilion Hockerson

Dillon Hockerson
Attorney
Office of Lega! Affairs
Case 2:90-cv-00520-KJM-SCR Document 6768-6 Filed 07/15/20 Page 5 of 39

Exhibit NN
Case 2:90-cv-00520-KJM-SCR Document 6768-6 Filed 07/15/20 Page 6 of 39

From: Michael W, Bien
To: Coleman Team - RBG Only
Subject: Fwd: Coleman: February 2020 Monthly Segregation Data
Date: Monday, May 04, 2020 3:52:42 PM
Attachments: ATTO0001.htm
EOP Seqreaation Data -February 2020.pdf
ATTO0002.htm
Lt DH-LE re Feb 2020 EOP Sea Data.pdf
ATTO00003.htm
Seareaation Lenath of Stay Averages -rundate 030220.xlsm
ATTO0004.htm

Michael W. Bien

Rosen Bien Galvan & Grunfeld LLP
101 Mission Street

Sixth Floor

San Francisco, CA 94105

415-433-6830: Tel
415-433-7104: Fax

Mbien@rbgg.com

Begin forwarded message:

From: "Hockerson, Dillon@CDCR" <Dillon.Hockerson@cdcr.ca.gov>
Date: March 3, 2020 at 12:16:32 PM PST
Subject: Coleman: February 2020 Monthly Segregation Data

Hello,

Attached is a letter regarding the monthly EOP segregation data and two segregation
reports concerning the month of February 2020. Please let me know if you have any
questions.

Sincerely,

Dillon Hockerson

Attorney

California Department of Corrections and Rehabilitation
Email: Dillon. Hockerson@cder.ca.gov

Phone: (916) 445-2779

Cell: (916) 413-5796

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Exhibit OO
Case 2:90-cv-00520-KJM-SCR Document 6768-6 Filed 07/15/20 Page 11 of 39

From: Lisa Ells

To: Emma Cook

Subject: FW: Coleman: May 2020 Monthly Segregation Data [IWOV-DMS.FID6429]
Date: Monday, July 13, 2020 3:08:58 PM

Attachments: Copy of Seqreqation Lenath of Stay Averages - run date 060120.xIsx,

EOP Seareagation Data -May-FINAL.pdf
Lt DH-LE re Mav 2020 EOP Sea Data.odf

From: Hockerson, Dillon@CDCR <Dillon.Hockerson@cdcr.ca.gov>

Sent: Friday, June 5, 2020 11:18 AM

To: Lisa Ells <LElls@rbgg.com>; Michael W. Bien <MBien@rbgg.com>; Steve Fama
<sfama@prisonlaw.com>

Cc: Nick Weber <Nicholas.Weber@cdcr.ca.gov>; Melissa Bentz <Melissa.Bentz@cdcr.ca.gov>;
Stafford, Carrie@CDCR <Carrie.Stafford@cdcr.ca.gov>

Subject: Coleman: May 2020 Monthly Segregation Data

Hello,

Attached is a letter regarding the monthly EOP segregation data and two segregation reports. Please
let me know if you have any questions.

Sincerely,

Dillon Hockerson

Attorney

CDCR Office of Legal Affairs

Email: Dillon. Hockerson(@cdcr.ca.gov
Phone: (916) 445-2779

Cell: (916) 413-5796

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OF THE SENDER. IF YOU RECEIVED THIS DOCUMENT IN ERROR PLEASE NOTIFY THE SENDER
IMMEDIATELY.
Page 12 of 39

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Exhibit PP
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DIVISION OF CORRECTIONAL HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM

P.O, Box 942883

Sacramento, CA94283-0001

August 3, 2012

Matthew A. Lopes, Jr. Esquire : via: Debbie J. Vorous, Esquire
Office of the Special Master Deputy Attorney General
Pannone Lopes & Devereaux LLC Department of Justice
317 Iron Horse Point Way, Suite 301 1300 "I" Street, Suite 125
Providence, RI 02908 P. O. Box 944255

Sacramento, CA 94244-2550

RE: COLEMAN MONTHLY REPORT OF INFORMATION REQUESTED AND
RESPONSE TO JANUARY 19, 1999, COURT ORDER REGARDING STAFF
VACANCIES

Dear Mr, Lopes:

Enclosed is the Coleman Monthly Report reflective of June, 2012 data (or as otherwise
noted). The following is the list of enclosures:

1.

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15;

Mental Health Services Delivery System (MHSDS) Staffing Allocation and
Vacancy History.
MHSDS Hiring Activity Report.

. Health Care Placement Oversight Program (HCPOP) Information Report, Summary

and Administrative Segregation Greater than 60 Days.
Mental Health Contract Services including Summary and Telemedicine Monthly
Report for all disciplines.

. California Department of Corrections and Rehabilitation (CDCR) Reception Center

(RC) Monthly Report.

Monthly Summary of Mental Health Crisis Bed use by Institution Titles Inpatient
Psychiatric Aging Report.

Referrals for Transfer to the Department of Mental Health (including admissions).
Atascadero State Hospital (ASH) Discharges.

Weekly Enhanced Outpatient Program (EOP)/Outpatient Psychiatric Program.

The Department of Mental Health (DMH) Monthly Report of CDCR Patients in DMH
Hospitals -- Summary and Penal Code 2684.

Suicide Report.

Statistics on Contracted Registered Nurse (RN). (No Longer Available)

RC Processing for MHSDS Inmate Patients.

Medical Technical Assistant (MTA) Vacancy Report. (No Longer Available)
Allocated Case Manager Positions and Vacancies for the EOP Administrative
Segregated Hub institutions.
CORT AW RT apes i Rem Document 6768-6 Filed 07/15/20 Page 17 of 39

Page 2

16. EOP Inmates Waiting Transfer to a Psychiatric Services Unit (PSU).

17. Audit reports on Psychiatric Technician Rounds in Administrative Segregation at
California State Prison, San Quentin (SQ), California State Prison-Corcoran (COR),
and Salinas Valley State Prison (SVSP).

18, Mental Health Crisis Beds Wait List.

19, Correctional Treatment Centers and CDCR General Acute Care Hospital Care
Placement Issues. (No longer available)

20. Transferred and Rescinded Mental Health Crisis Bed Referrals by Institution and
Level of Care.

If you have any questions, please contact me at (916) 691-0209,

il fv

T. BELAVICH, Ph.D., MSHCA, CCHP
Deputy Director (A)

Statewide Mental Health Program

Division of Correctional Health Care Services

Sincerely,

Enclosures

ec: Diana Toche, DDS, Director (A), Division of Correctional Health Care Services
(DCHCS)
Mohamedu F., Jones, Esq., Coleman Deputy Special Master
Linda Holden, Esq., Coleman Deputy Special Master
Jeffrey L. Metzner, M.D., Coleman Expert
Kerry C. Hughes, M.D., Coleman Expert
Raymond F. Patterson, M.D, Coleman Expert
Paul Nicoll, MPA, Coleman Monitor
Ted Ruggles, Ph.D., Coleman Expert
Mary Perrien, Ph.D., Coleman Expert
Yong Joo Erwin, LCSW, Coleman Expert
Kathryn A. Burns, M.D., MPH, Coleman Expert
Henry A. Dlugacz, Esq., Coleman Expert
Kerry F. Walsh, Esq., Coleman Monitor
Patricia Williams, Esq., Coleman Monitor
Haunani Henry, Coleman Monitor
J. Ronald Metz, Coleman Monitor
Debbie Vorous, Esq., Office of the Attorney General
CARR He A. PORE Mahe Document 6768-6 Filed 07/15/20 Page 18 of 39
Page 3

Heather McCray Esq., Office of Legal Affairs, CDCR

Michael Stone, Esq., Office of Legal Affairs, CDCR

Michael Bien, Esq., Rosen, Bien and Galvan

Donald Specter, Esq., Prison Law Office

Judy Burleson, Associate Director, Statewide Mental Health Program, DCHCS

Nathan Stanley, Chief, Operational Program Oversight, Statewide Mental Health
Program DCHCS

Karen Higgins, M.D., Chief of Behavioral Medicine, Statewide Mental Health
Program, DCHCS

Teresa Owens, Associate Governmental Program Analyst, Operational Program
Oversight, DCHCS
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Exhibit QQ
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Offender

Data Points

Prepared by the Office of Research,
Division of Internal Oversight and
Research

Offender Demographics
for the 24-month period, ending
June 2017

R Document 6768-6 Filed 07/15/20 Page 29 of 39
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JUN 2015| 128,900
* JUN 2016] 128,643
Population yx) 2017] 131,260

Month-end Total

In Custody

Data Source: Offender Based Information System (OBIS)/Strategic Offender Management System (SOMS)

175,000 -
Prop 184 - Increased
Sentences. Repeat.
150,000 - Offenders (1994)
125,000 -
5
Ez 100,000 - Senate Bill 1555 - Crimes. (1988)
oa {Street Terrorism Enforcement and
5 Prevention Act}
6
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s 75,000 -
=
Senate Bill 42 - Imprisonment. (1976)
50,000 - (Uniform Determinate Sentencing Act of
1976)
a
25,000 - ———
= o— a
§3)8 8/5 8\5 8/58 8/5 8/8 8/5 8/8 8)5 8/5 8/8 8/5 8/8 \5 B\8 8/5 8)5 8\8 8/3 8
1976 1977 1978 1979 1980 1981 1982 1983 1984 1985 1986 1987 1988 1989 1990 1991 1992 1993 1994 1995

(End of Month Data)

™ Total Population

June 2017

© OFFICE OF RESEARCH Page 2
R Document 6768-6 Filed 07/15/20 Page 30 of 39
CO) agssarel-say Blevnn(ey 4c] s) ecw lt In Custody Specialized Bed Populations

Month-end Total / % of Total Population JUN 2015 JUN 2016 JUN 2017
Administrative Segregation Unit (ASU) 4,369 3.4% 2,837 2.2% 2,701 2.1%
Short Term Restricted Housing (STRH)* 236 0.2% 944 0.7% 960) 0.7%

Protective Housing Unit (PHU) 10 0.0% 6 0.0% 7 0.0%
Psychiatric Services Unit (PSU) 395 0.3% 309 0.2% 230 0.2%
Security Housing Unit (SHU) 3,018 2.3% 1,165 0.9% 5/79 0.4%

Long Term Restricted Housing (LTRH)* 77 0.1% 127 0.1% 118 0.1%
Total Offenders in Specialized Beds 8,105 6.3% 5,388 4D% 4,595 3.5%

Data Source: SOMS

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Number of Offenders as of Jun 30, 2017

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2580 § % SSRESES SES SLSTE ZEAL SAME
General Population High Security Female Housing & Reception Centers
Special Housing
ASU @STRH B PHU PSU | SHU @ LTRH

* The STRH and the LTRH house Correctional Clinical Case Management System (CCCMS) offenders who get extra time outside of their cell.

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Exhibit SS
Page 32 of 39

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Filed 07/15/20
History of In-Custody Population and Various Sentencing Policy Changes

Page 33 of 39

JUN 2016) 128,643

In-Custody JUN 2017) 131,260

Population jy 2018 129,417

Month-end Total

Data Source: Offender Based Information System (OBIS)/Strategic Offender Management System (SOMS)

175,000 -
Assembly Bill 4 - Sentencing:
firearms. (1997) (Sandy Peters
Memorial Act/10-20-Life law)
150,000 -
Proposition 184 - increased
Sentences. Repeat Offenders
(1994) (Three Strikes Law)
125,000 -
: ; i Assembly Bill 446 - Murder-
Senate Bill 1555 - Crimes. (1988) :
100,000 - (Street Terrorism Enforcement and (1997)
iL P; tion Act) (Prop 222 -Murder. Peace
1 Officer Victim. Sentence
E (Credits. Legislative Initiative
=
= Amendment.)
=
© 75,000 -
Senate Bill 42 - Imprisonment. (1976) |
50,000 (Uniform Determinate Sentencing Act of |
1976)
|
25,000 - |
SS
© 8le Ble Ble Ble Vile Vile Ble Ble BPE ble Ble Sle Yle vle_ Sle Sle Ble Ble Vile Ble Vile ¥
4 4/3 8/43 4/5 6)4 4/3 8)4 6/5 &)4 6/5 8)5 8/5 8)5 8)5 8/5 8)4 6/5 8) 6)5 8)4 6/5 8/5 8
1976 | 1977 | 1978 | 1979 | 1980 | 1981 | 1982 | 1983 | 1984 | 1985 | 1986 | 1987 | 1988 | 1989 | 1990 | 1991 | 1992 | 1993 | 1994 | 1995 | 1996 | 1997

(End of Month Data)

™ Total Population

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June 2018
Page 2

R Document 6768-6 Filed 07/15/20 Page 34 of 39
CO) ag-iatel-tay Blevenley4e-lel el ecwe-lele Me In-Custody Specialized Bed Populations

Month-end Total / % of Total Population JUN 2016 JUN 2017 JUN 2018
Administrative Segregation Unit (ASU) 2,837! 2.2% 2,701 2.1% 2,732! 2.1%
Short Term Restricted Housing (STRH)* oat 0.7% 960 0.7% 978! 0.8%

Protective Housing Unit (PHU) 0.0% 7 0.0% 7 0.0%
Psychiatric Services Unit (PSU) 309! 0.2% 230 0.2% 204} 0.2%
Security Housing Unit (SHU) 1,165} 0.9% 579! 0.4% 532; 0.4%

Long Term Restricted Housing (LTRH)* 1271 0.1% 118 0.1% 93! 0.1%
Total Offenders in Specialized Beds 5,388} 4.2% 4,595 3.5% 4,546} 3.5%

Data Source: SOMS

Total Number as of June 30, 2018
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2580S FESRSSSees es eS SEER SES EaG SRS
General Population High Security Female Housing & Reception Centers
Special Housing
ASU M@STRH B PHU PSU SHU @ LTRH

* The STRH and the LTRH house Correctional Clinical Case Management System (CCCMS) offenders who get extra time outside of their cell.

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Exhibit TT
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DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM

P.O. Box 588500

Elk Grove, California 95758

July 9, 2019

Matthew A. Lopes, Jr. Esquire via: Elise Owens Thorn, Esquire

Office of the Special Master
Pannone Lopes Devereaux & O’Gara LLC
Northwoods Office Park

Deputy Attorney General
Department of Justice
1300 I Street, Suite 125

P.O. Box 944255
Sacramento, CA 94244-2550

1301 Atwood Avenue, Suite 215 N
Johnston, RI 02919

RE: COLEMAN MONTHLY REPORT OF INFORMATION REQUESTED AND
RESPONSE TO JANUARY 19, 1999, COURT ORDER REGARDING STAFF
VACANCIES

Dear Mr. Lopes:

Enclosed is the Coleman Monthly Report reflective of May, 2019, data (or as otherwise
noted). The following is the list of enclosures:

1. California Department of Corrections and Rehabilitation (CDCR) Staffing Report.
a. Mental Health Executive Summary.
b. Mental Institution Vacancy by Classification.
c. Mental Institution Vacancies Summary by Classification.
d. Mental Health Month to Month Registry Usage.
e. Mental Health Six-Month Vacancy Summary.
f. Mental Health Program Institution Vacancies-Summary by Classification.
g. Statewide Mental Health Program Compliance Summary Report.
h. Enhanced Outpatient Administrative Segregation Unit (EOP ASU) Case Manager
Positions and Vacancies.
i. Mental Health Hiring Progress Report.
j. Mental Health Statewide Hire Tracking Summary -- Clinical Positions Only.
k. Mental Health Telepsych Allocated and Filled Positions Report.
1. Psychiatric Inpatient Program (PIP) Staffing Data.
m. Department of State Hospitals (DSH) Staffing Data.

2. Reception Center Monthly Reports.
a. Reception Center Mental Health Screening Report.
b. Reception Center Transfer Timelines Report.

3. Continuous Length of Stay Counts for Mental Health Services Delivery Systems
(MHSDS) ASU, Secured Housing Unit (SHU), and Psychiatric Services Unit
(PSU) report.
Case 25795 WK PRES: Se NS CR Document 6768-6 Filed 07/15/20 Page 37 of 39

Page 2

4. EOP Inmates Waiting Transfers to PSU.

aA

. EOP ASU Hub Trends.

a

Population and Census Reports.
a. Health Care Placement Oversight Program (HCPOP) Information Report,
Summary of Mental Health Population by Institution and Level of Care (H-1).
b. MHSDS Management Information Summary (MIS).
c. Weekly EOP/Outpatient Psychiatric Program Report.

~

Mental Health Crisis Bed (MHCB) Reports.
a. MHCB Referrals report.

b. MHCB Stays report.

c. MHCB Wait List.

oo

. DSH and Inpatient Program Referral Reports.
a. Referrals for Transfer to Inpatient Programs Report.
b. DSH Monthly Report of CDCR Patients in DSH Hospitals, Summary of PC 2684s
Report.
9. Milestone Credits Report.
10. Work Assignments Report.
11. Out of Level Housing Report.
If you have any questions, please contact me at (916) 691-0296,

Sincerely,

forte 6 Ptvwk

KATHERINE TEBROCK, ESQUIRE
Deputy Director, Statewide Mental Health Program
California Department of Corrections and Rehabilitation

Enclosures

cc: Mohamedu F., Jones, Esq., Coleman Deputy Special Master
Kerry F. Walsh, Esq., Coleman Deputy Special Master
Jeffrey L. Metzner, M.D., Coleman Expert
Kerry C. Hughes, M.D., Coleman Expert

Case 270 O- oO oe KIM. SCR Document 6768-6 Filed 07/15/20 Page 38 of 39
Lopes, squire

Page 3

Mary Perrien, Ph.D., Coleman Expert

Henry A. Dlugacz, Esq., Coleman Expert

Patricia Williams, Esq., Coleman Monitor

Patrick McKinney, Esq., Office of Legal Affairs, CDCR

Nicholas Weber, Esq, Office of Legal Affairs, CDCR

Michael Bien, Esq., Rosen, Bien and Galvan

Donald Specter, Esq., Prison Law Office

Steve Fama, Esq., Prison Law Office

Brittany Brizendine, Psy.D, Assistant Deputy Director, Statewide Mental Health
Program, Division of Healthcare Services (DHCS)

Angela Ponciano, Associate Director, Statewide Mental Health Program, DHCS

Laura Ceballos, Ph.D., Mental Health Administrator, Inpatient Facilities and
Quality Improvement, Statewide Mental Health Program, DHCS

Wendy Worrell, Psy.D, Chief Psychologist, Quality Management and Informatics

(A), Statewide Mental Health Program, DHCS
Teresa Owens, Health Program Specialist I, Quality Management, Statewide Mental
Health Program, DHCS

MENTAL HEALTH SERVICES DELIVERY SYSTEM (MHSDS)
MANAGEMENT INFORMATION SUMMARY (MIS) REPORT

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Ets Uae Pte ae
Correctional Clinical Case Management System (CCCMS) 27,000 25,646 2,250 2,236
Reception Center (RC) 2,388 217
General Population (GP) 21,302 1,859
Enhanced Outpatient Program (EOP) 85 0
Mental Health Crisis Bed (MHCB) 6 0
Psychiatric Inpatient Program (PIP) 2 0
Specialized Medical Beds Housing 543 22
CCCMS |Administrative Segregation Unit (ASU) 259 84
Condemned 149 14
Long Term Restricted Housing Unit (LTRH) 130 118 0
Non-Disciplinary Segregation (NDS) 3 0
Psychiatric Services Unit (PSU) 61 0
Security Housing Unit (SHU) 5 40
Short Term Restricted Housing Unit (STRH) 1,125 725 0
Enhanced Outpatient Program (EOP) 7,385 6,285 225 158
Reception Center (RC) 166 0
General Population (GP) 76 36
Enhanced Outpatient Program (EOP) 6,564 5,212 195. 108
Mental Health Crisis Bed (MHCB) 20 0
Psychiatric Inpatient Program (PIP) 18 0
Specialized Medical Beds Housing 188 5
EOP |Administrative Segregation Unit (ASU) 585 399 47 20 5 0
Condemned 35 0
Long Term Restricted Housing Unit (LTRH) 0 0
Non-Disciplinary Segregation (NDS) oO 0
Psychiatric Services Unit (PSU) 236 141 19 10 4 0
Security Housing Unit (SHU) oO 0
Short Term Restricted Housing Unit (STRH) 30 0
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re) ae) feels fester 7 [ey rtd iatg fetes 7
Eun’ Tt tut tal’
Mental Health Crisis Bed (MHCB)
Psychiatric Inpatient Programs:
Intermediate Care Facility (ICF) te ae se
Low Custody 390 243 29
Atascadero State Hospital (ASH) 256 133 19
Coalinga State Hospital (CSH) 50 38 0
California Medical Facility (CMF) 84 72 10
High Custody 746 616 43
California Health Care Facility (CHCF) 300 280 2
CMF Single Cells 130 118 4
CMF Multi Cells 70 49 14
SVPP Single Cells 202 136 14
Salinas Valley Psychiatric Program (SVPP) Multi Cells 44 33 9
Acute Psychiatric Program (APP) 396 330 22
ASH 0 0 0
CHCF 214 189 11
CMF 182 141 11
Psychiatric Inpatient Program (PIP) 33 26 o 75 46 1
California Institution for Women (CIW) 45 37 0
Patton State Hospital (PSH) 30 9 1
San Quentin (SQ) 33 26 0
Penal Code 2974s (Parolees)” 3
Metro State Hospital (MSH) 0
Napa State Hospital (NSH) 3
Patton State Hospital (PSH Oo _ , :
FEREr Tn Tee mu
i ff CENSUS PERCENTAGES
Total Total Total Awaiting | Total Over
Capacity Census’ Placement’ | Timeframes’ | % MHSDS % CDCR*
29,250 27,882 77.66% 22.17%
6,759 5,894 16.42% 4.69%
EOP-ASU & NDS 605 404 47 z 1.13% 0.32%
PSU 246 145 19 1 0.40% 0.12%
475 Sify 15 0 0.88% 0.25%
PSYCHIATRIC 1,640 1,261 95 2 3.51% 1.00%
GRAND TOTAL 38,975 35,903 176 5 100.00% 28.55%

1 Census sources: HCODS for CCCMS, EOP; HEART for MHCB; RIPA reports for ICF, APP, and PIP programs.

? Awaiting Placement = The sum of inmates waiting to be placed in a bed at a specific level of care. Those awaiting placement to ICF, APP, and PIP include
referrals that have been custodially reviewed by HCPOP and are awaiting bed availability, inpatient program acceptance, or transfer to the inpatient
program as of the reporting date (based on the Referrals to Inpatient Programs Application (RIPA)).

3 Total Over Timeframes = The number of referrals that are beyond Mental Health Program Guide transfer timeframes: EOP-ASU includes cases in non-hubs
waiting > 30 days, PSU includes cases with an original CSR endorsement date > 60 days, MHCB includes referrals > 24 hours, Psychiatric Inpatient includes
Intermediate referrals > 30 days and Acute referrals > 10 days.

4 CDCR pop as of 6/12/19 (OISB). Based on Total In-State Institution Population and Out of State (COCF).

5 Census numbers are tracked and updated by Department of State Hospital (DSH).

